Case:24-12624-KHT Doc#:178 Filed:09/26/24                Entered:09/26/24 16:44:36 Page1 of 3



                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO

 In re:                                           )
                                                  )
 DNC and TCPA List Sanitizer, LLC,                )       Case No. 24-12624-KHT
                                                  )       Chapter 11
          Debtor.                                 )

                UNITED STATES TRUSTEE’S OBJECTION TO DEBTOR’S
               PLAN OF REORGANIZATION DATED AUGUST 14, 2024 FOR
                SMALL BUSINESS UNDER CHAPTER 11, SUBCHAPTER V

         Patrick S. Layng, United States Trustee for Region 19, (the “UST”) objects to confirmation
 of the Debtor’s Plan of Reorganization Dated August 14, 2024 for Small Business Under Chapter
 11, Subchapter V (Docket No. 123, the “Original Plan”) and states as follows:

                                        Procedural History

      1.      DNC and TCPA List Sanitizer, LLC (the “Debtor”) filed its Voluntary Petition
 commencing this chapter 11 case on May 16, 2024.

          2.    Joli A. Lofstedt is the appointed Subchapter V Trustee in this case.

          3.    On August 14, 2024, the Debtor filed the Original Plan.

        4.     The Court has jurisdiction over the subject matter of this proceeding pursuant to 28
 U.S.C. §§ 1334(b), 157(a) and (b)(1), and 11 U.S.C. § 1191.

        5.     The UST has standing to bring this matter before the Court pursuant to 11 U.S.C.
 §§ 307 and 28 U.S.C. § 586(a)(3), and objects to the Plan under § 1191 for the following reasons.

                                            Objections

          6.    The deadline to object to the Original Plan is September 26, 2024.

       7.      After hours on September 25, 2024, the Debtor filed an Amended Plan of
 Reorganization Dated September 25, 2024 for Small Business Under Chapter 11, Subchapter V
 (Docket No. 173, the “Amended Plan”).

        8.      The Debtor did not file a redline comparing the Amended Plan against the Original
 Plan. However, the Amended Plan is substantially different. Among other things, (i) the Amended
 Plan creates a new convenience class, (ii) the Amended Plan classifies creditors into four classes,




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Case:24-12624-KHT Doc#:178 Filed:09/26/24                           Entered:09/26/24 16:44:36 Page2 of 3



 including the convenience class, rather than seven classes as under the Original Plan, 1 and (iii) the
 Amended Plan proposes different treatment for the classes of creditors than the Original Plan.

         9.      The Debtor apparently intends to pursue confirmation of the Amended Plan rather
 than the Original Plan. The Court has not set a hearing on confirmation of the Amended Plan, nor
 has the Court set a deadline to object to the Amended Plan. It is unclear whether the Debtor has
 solicited votes on the Amended Plan, although it seems unlikely.

        10.     Creditors, the UST, and other parties in interest should have an appropriate
 opportunity to review, object to, and, as applicable, vote on the Amended Plan.

        11.    The UST objects to confirmation of the Original Plan because it apparently has
 been superseded by the Amended Plan.

        12.     The UST also objects to confirmation of the Original Plan (and any similar
 provision in the Amended Plan) for the following reasons:

                   a. The Debtor would assume all executory contracts for which a motion to assume
                      is pending. See Plan at Art. 7.1.a. One such pending motion is the Debtor’s
                      Motion to Assume Management Agreement with Cashyew Holdings, Inc. filed
                      on July 10, 2024. Several parties have objected to that motion, and the issues
                      raised in the motion and objections should be addressed in connection with any
                      assumption under the plan. The Debtor’s projections included with the plan
                      assume that the Debtor will prevail on the proposed assumption of that
                      agreement.

                   b. The first sentence of Article 11.11 should be deleted. That sentence very
                      generally provides for a discharge upon confirmation. However, that sentence
                      is superfluous and potentially inconsistent with Article 11.6, which provides for
                      a discharge in much more detail.




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  The Amended Plan classifies creditors into Classes 1 through 4. Interests are classified in Class 6. There is no Class
 5.
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Case:24-12624-KHT Doc#:178 Filed:09/26/24           Entered:09/26/24 16:44:36 Page3 of 3



         WHEREFORE, the UST objects to confirmation of the Original Plan for the reasons set
 forth above, and requests such other relief as the Court deems appropriate.

 Dated: September 26, 2024.                   Respectfully submitted,

                                              PATRICK S. LAYNG
                                              UNITED STATES TRUSTEE

                                              /s/ Alan K. Motes
                                              By: Alan K. Motes, #33997
                                              Trial Attorney for the U.S. Trustee
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                                              (303) 312-7259 fax
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on September 26, 2024, a copy of the UNITED
 STATES TRUSTEE’S OBJECTION TO DEBTOR’S PLAN OF REORGANIZATION
 DATED AUGUST 14, 2024 FOR SMALL BUSINESS UNDER CHAPTER 11,
 SUBCHAPTER V was served on the following parties in compliance with the Federal Rules of
 Bankruptcy Procedure and the Court’s Local Rules:

       •   Attorney John Cimino, via CM/ECF
       •   Subchapter V Trustee Joli A. Lofstedt, via CM/ECF

                                              /s/ Alan K. Motes
                                              Office of the United States Trustee




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